
The Supreme Court affirmed the decision of the Court below, on May 2d, 1881, in the following opinion, per
Mercur, J.
Prior to the Act of 4th April, 1877, the refusal of a Court to open a judgment regularly entered on its record was not subject *359to review here; McClelland vs. Pomeroy, 25 P. F. Smith, 410. That act gave a right to appeal on a refusal to open, in case the judgment had been entered “by virtue of a warrant of attorney or on a judgment note.” This judgment was not entered by virtue of the one nor of. the other. It was confessed in a suit commenced by amicable scire facias on a recognizance under an agreement to have the same effect, as if a writ had been regularly and duly issued, served on the defendant therein, and so returned. The refusal of the learned judge to open the judgment on the equities alleged, is fully vindicated by the opinion filed in the case of Jones vs. Bomberger 1 Out. 432; just decided. But we do not think the case comes within the time meaning and spirit of the Act of 4th April, 1877, P. L. 53; allowing an appeal; Lamb’s Appeal, 8 Norris, 407.
Appeal quashed.
